          Case 1:21-cr-00429-CRC Document 7 Filed 06/24/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO:
                                                  :
              v.                                  :
                                                  :    MAGISTRATE NO. 21-mj-440
 SAVANNAH DANIELLE MCDONALD,                      :
 NOLAN HAROLD KIDD,                               :
                                                  :    VIOLATIONS:
                       Defendants.                :    18 U.S.C. § 1752(a)(1)
                                                  :    (Entering and Remaining in a Restricted
                                                  :    Building)
                                                  :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Violent Entry and Disorderly Conduct
                                                  :    and Parading, Demonstrating, or Picketing
                                                  :    in a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)


                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, SAVANNAH DANIELLE

MCDONALD and NOLAN HAROLD KIDD, did knowingly enter and remain in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President and Vice President-elect were

temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
          Case 1:21-cr-00429-CRC Document 7 Filed 06/24/21 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, SAVANNAH DANIELLE

MCDONALD and NOLAN HAROLD KIDD, did knowingly, and with intent to impede and

disrupt the orderly conduct of Government business and official functions, engage in disorderly

and disruptive conduct in and within such proximity to, a restricted building and grounds, that is,

any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-elect were temporarily visiting, when and

so that such conduct did in fact impede and disrupt the orderly conduct of Government business

and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia, SAVANNAH DANIELLE

MCDONALD and NOLAN HAROLD KIDD, willfully and knowingly engaged in disorderly

and disruptive conduct in any of the Capitol Buildings with the intent to impede, disrupt, and

disturb the orderly conduct of a session of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104 (e)(2)(D))
          Case 1:21-cr-00429-CRC Document 7 Filed 06/24/21 Page 3 of 3




                                       COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, SAVANNAH

DANIELLE MCDONALD and NOLAN HAROLD KIDD, willfully and knowingly paraded,

demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104 (e)(2)(G))

                                            Respectfully submitted,

                                            Channing D. Phillips
                                            Acting U.S. Attorney
                                            D.C. Bar No. 415793


                                            By:    /s/ Lucy Sun_______
                                            Lucy Sun
                                            Assistant United States Attorney
                                            Massachusetts Bar Number 691766
                                            United States Attorney’s Office
                                            Detailee – Federal Major Crimes
                                            555 Fourth Street, N.W.
                                            Washington, D.C. 20530
                                            Telephone: (617) 590-9468
                                            Email: lucy.sun@usdoj.gov
